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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 WISCONSIN VOTERS ALLIANCE, ET AL,                                                  Case No. 20-3791
                               Plaintiffs,
 v.                                                                            Notice of Voluntary
                                                                            Dismissal of Complaint
 VICE PRESIDENT MICHAEL RICHARD PENCE, ET AL.                                  Pursuant to Rule 41
                            Defendants.                                                 (a)(1)(A)(i)




        Pursuant to Rule 41 (a)(1)(A)(i), all Plaintiffs in the above captioned action, Wisconsin

Voters Alliance, Pennsylvania Voters Alliance, Georgia Voters Alliance, Election Integrity Fund,

Arizona Voter Integrity Alliance, Lynie Stone, Baron Benham, Debi Haas, Brenda Savage, Matthew

Dadich, Leah Hoopes, Ron Heuer, Richard W. Kucksdorf, Debbie Jacques, John Wood, Sonny

Borelli, Warren Peterson, Matthew Maddock, Daire Rendon, David Steffen, Jeff L. Mursau, William

T. Ligon and Brandon Beach, file this Notice of Voluntarily Dismissal of their Complaint without

prejudice.


 Dated: January 7, 2020                              /s/Erick G. Kaardal
                                                     Erick G. Kaardal (WI0031)
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                                                     Thomas More Society
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